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DNJ-Civ-017 (09/2016)

 

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

RAFAEL SALAZAR, Civil Action No. 18-13765

e. ORDER OF DISMISSAL

SKOURA CORPORATION,
ET AL

Defendants.

 

 

This matter having been reported settled and the Court
having administratively terminated the action for Sixty (60)
days so that the parties could submit the papers necessary to
terminate the case, see Fed. R. Civ. P. 41(a) (1) (A) (ii), L. Civ.
R. 41.1, and the sixty-day time period having passed without the
Court having received the necessary papers;

IT IS on this /6 Fa of JULY, 2019

ORDERED that the Clerk of the Court shall reopen the case
and make a new and separate docket entry reading “CIVIL CASE
REOPENED”; and it is further

ORDERED that this matter be, and the same hereby is,

DISMISSED WITH PREJUDICE, and without @ésts pursuant to Fed. R.

Civ. P. 41 (a) (2). Ne fe

/ SYSAN\M ./ NIGENTOM, U.S.D.d.
